
The PRESIDENT
delivered the opinion of the Court.
*520The question on the merits is, whether George Sisson’s deed of lease and release to Northern in 1725, prevented the operation of the writ of ad quod damnum in 1736, and his deed to Purcell in 1737. This may very much depend upon the actual seisin and possession of the parties; as to which, the findings are uncertain, and directly contradictory to each other.
1st, They find that George Sisson entered by virtue of his grandfather’s will in 1698, and was seised and possessed, and being so seised and possessed, did in 1736 sue out the writ, and in 1737 conveyed the land to Purcell. Afterwards they find, that in 1725 (an intervening period between 1698 and 1736) the same Sisson conveyed the same land to Northern, and that he was thereof seised and possessed, in contradiction to the former finding.
Again; they find that by virtue of the deed of 1737, Purcell entered, and was seised and possessed, and was so seised and possessed at his death in 1761. Afterwards it is stated that Northern was seised and possessed after 1737 and that his son after 1747 delivered up the possession to Purcell.
These might be reconciled by a strained construction, so as to avoid a contradiction, but the court do not think it right to *proceed to judgment upon so uncertain a verdict as to this fact.
The judgment of the District Court must be reversed for these reasons, and the cause remanded for a new trial.
